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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES – GENERAL

Case No. 2:23-cv-10127-JLS-AGR                                   Date: September 19, 2024
Title: Yuri Doering v. BSLB LLC et al

 Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

             Kelly Davis                                          N/A
             Deputy Clerk                                     Court Reporter

      Attorneys Present for Plaintiffs:                 Attorneys Present for Defendant:

              Not Present                                       Not Present

PROCEEDINGS: (IN CHAMBERS) ORDER DISMISSING ACTION WITH
             PREJUDICE FOR FAILURE TO PROSECUTE

        On May 29, 2024, the Court denied Plaintiff’s Motion for Default Judgment and
ordered Plaintiff to file an amended complaint within twenty-one days if Plaintiff wished
to proceed with this action. (Order, Doc. 21.) The Court warned that failure to timely
file an amended complaint would result in dismissal of the action. (See id. at 11.) It has
now been more than three months, and no amended complaint was filed. Accordingly,
this action is DISMISSED WITH PREJUDICE for failure to prosecute pursuant to
Federal Rule of Civil Procedure 41(b).




                                                               Initials of Deputy Clerk: kd




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